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 7
 8
                                          UNITED STATES DISTRICT COURT
 9
                              FOR THE EASTERN DISCTRICT OF CALIFORNIA
10
11
12
13   UNITED STATES OF AMERICA                                 Case No. 2:15-CR-0131 TLN

14                       v.                                   APPLICATION FOR ORDER AND
                                                              ORDER EXONERATING BOND
15
     WILLIAM JAMES WELCH, et al.,
16
                         Defendants
17
18
19
20
               The defendant, William Welch, was ordered released during the pendency of his
21
     case pursuant to a secured property bond in the amount of $200,000.              The bond was
22
23   secured by a Deed of Trust. The property listed below was posted to secure the bond:
24
               Lot 452, as shown on The Plat of Larchmont Sunriver Unit No. 5, Recorded in
25
               Book 137 of Maps, Map No. 10, Records of Sacramento County. APN: 056-
26
               0410-024-000,
27
28             11139 Trinity River Drive, Rancho Cordova, CA 95670.



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 1             The court’s release order was well founded. After his release Mr. Welch made all
 2
     of his court appearances and complied with all conditions of his pre-trial release.
 3
 4             Thus, it is hereby requested that the $200,000 secured appearance bond be
 5   exonerated in the above-captioned case and that the Clerk of the Court be directed to
 6
     reconvey back to the Trustor, Mark Godfrey, Trustee of THE MARK T. GODFREY
 7
 8   FAMILY TRUST, the Deed of Trust.

 9
               Dated: October 28, 2018                        respectfully submitted,
10
11                                                            _________________________________
12                                                            David A. Grow
13                                                            Attorney for William Welch

14
15
16             ORDER
17
               IT IS HEREBY ORDERED that the appearance bond in the amount of $200,000
18
19   is hereby exonerated. It is also ordered that the Clerk’s office reconvey the title to the
20   real property securing the bond.
21
22             DATED: NOVEMBER 14, 2018                       _________________________________

23                                                            TROY L. NUNLEY
                                                              U.S. DISTRICT JUDGE
24
25
26
27
28



     Application For Order And Order Exonerating Bond   -2-
     10/30/18
